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14                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
15                                  OAKLAND DIVISION
16    GENTEX CORPORATION and INDIGO
      TECHNOLOGIES, LLC,
17
                            Plaintiffs,                  Case No. 4:22-cv-03892-YGR
18
      THALES VISIONIX, INC.,                             PLAINTIFFS’ ADMINISTRATIVE
19                                                       MOTION TO CONSIDER WHETHER
                            Involuntary Plaintiff,       ANOTHER PARTY’S MATERIAL
20                                                       SHOULD BE SEALED
             v.
21
      META PLATFORMS, INC. and META                    Judge:          Hon. Yvonne Gonzalez Rogers
22    PLATFORMS TECHNOLOGIES, LLC,
23                          Defendants.
24

25          Pursuant to Civil Local Rules 7-11 and 79-5(f), plaintiffs Gentex Corporation (“Gentex”) and
26   Indigo Technologies, LLC (“Indigo”) (collectively, “Plaintiffs”) hereby request the Court to consider
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      PLS.’ MOT. TO CONSIDER IF ANOTHER                                  CASE NO. 4:22-CV-03892-YGR
      PARTY’S MATERIAL SHOULD BE SEALED
          Case 4:22-cv-03892-YGR Document 138 Filed 01/12/24 Page 2 of 2



 1   whether certain portions of the Joint Motion to Dismiss (“Motion”) and Exhibit C attached to the
 2   Motion should be sealed.
 3          Exhibit C to the Motion is a copy of Thales’ Responses and Objections to Meta’s First and
 4   Second Set of Interrogatories, served on January 20, 2023, which Thales designated as “Confidential”
 5   pursuant to the Protective Order. Certain portions of the Motion cite to or quote from Exhibit C.
 6   Plaintiffs have highlighted in green the narrowly tailored portions of the Motion that contain material
 7   that was designated as “Confidential” by Thales.
 8          Plaintiffs respectfully request that the Court consider whether Exhibit C to the Joint Motion to
 9   Dismiss and the portions of the Motion that reflect the contents of Exhibit C should be sealed.
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     Dated: January 12, 2024                        Respectfully submitted,
11

12                                                   /s/ Adam D. Harber
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      PLS.’ MOT. TO CONSIDER IF ANOTHER                 2                 CASE NO. 4:22-CV-03892-YGR
      PARTY’S MATERIAL SHOULD BE SEALED
